4 .¢_-..~

 

 

UN|TED sTATEs OF AMER|CA
KELCEY RID]j/I CK

 

 

WEST PALM BEACH, FL

 

WAFlRANT |SSUED ON THE BAS|S OF:

B/M

xm Ordefof Court DOB: 02/20/77 SSN:269_58_1821

cR 12 (Flev. 9/82) WARRANT FOR ARREST AUSA ATKINSON/HARDLEY/DEA

Unl€iegau§rta€n§ m LJOCL{ITEEIII.t ¢L) tn[e .-,1 0

6_0?_08_50'74 MAGisTR/>M-‘A@MA
Ir\?! TE JUD
NAME AND AbbREss oF iNDlleuAL ro BE ARRE§M?W_'GE

PALM BEACH COUNTY JAIL

  
 
   

 

TO:

United States Marshals Service or any
other authorized representative

DlSTR|CT OF ARREST

 

C|TY

 

 

YOU ARE HEREBY COMMANDED to arrest the above-named person and bring that person
before the nearest available magistrate to answer to the charge(s) listed below.

 

DESCR|PT|ON CF CHARGES

r-`

ch

a

POSSESSION WITH INTENT TO DISTRIBUTE A SCHEDULE II CONTROLLED:$UBSTANCE

 

 

|N V|OLAT|ON OF 21

UN|TED STATES CODE T|TLE SECT|ON

 

841 (a) (1),-846

 

/n-_lER ]anloNs oF RELEASE

 

BA|L F|XED BY COURT ///
1 j ,/ ,AZ/¢ W
onbenéb BY

ANN E. VITUNAC
UNITED STATES MAGISTR.ATE JUDGE

S|G ATU E(JUDGE"/ S. MAG|STRATE)

 

/&LY/C¢//C¢’('€/

DATE

§ /6’

 

CLERK OF COURT

CLARENCE MADDOX

 

   

((BYTEEP CLER/K _
%)4%2¢ Q@#&/Zi’

 

DATE |SSUED

§ //a /r<>?c)da

 

 

 

DATE EXECUTED

 

 

/

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER

RETURN

This warrant was received and executed with the arrest of the above-named person.

 

 

SIGNATURE OF ARRESTING OFFIVER

Q

d

 

lUnited States Judge or Judge of a State Court of Record

9
/

lig/l

 

